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  Via E-Filing

  September 11, 2024

  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

  Re:       In re: Johnson & Johnson Talcum Powder Products Marketing, Sales
            Practices and Products Liability Litigation - MDL 2738

            Trammell v. Johnson & Johnson, et al.
            Civil Case No. 3:23-cv-19056

            Foster v. Johnson & Johnson, et al.
            Civil Case No. 3:23-cv-18971

            Allen v. Johnson & Johnson, et al.
            Civil Case No. 3:23-cv-18494

            Lassiter v. Johnson & Johnson, et al.
            Civil Case No. 3:23-cv-19502

            Ming v. Johnson & Johnson, et al.
            Civil Case No. 3:23-cv-19005

            Parker v. Johnson & Johnson, et al.
            Civil Case No. 3:23-cv-19018

            Quesada v. Johnson & Johnson, et al.
            Civil Case No. 3:23-cv-19034
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 Hon. Rukhsanah L. Singh, U.S.M.J.
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     Dear Judge Singh:

           The Johnson & Johnson Defendants write in reply to oppositions to the August 15,
     2024 Order to Show Cause (ECF 33096) filed by Keller Postman Plaintiffs Trammell
     (ECF 33244); Lassiter (ECF 33245); Allen (ECF 33246); Foster (ECF 33248); Ming (ECF
     33249); Parker (ECF 33247); and Quesada (ECF 33250). Instead of addressing their
     failure to abide by Court Orders and provide PPFs, Plaintiffs’ oppositions attempt to
     rehash their Motions to Dismiss Without Prejudice previously filed and opposed by these
     Defendants1.
           The cases should not be dismissed without prejudice for all the reasons stated in
     Judge Shipp’s opinions in the cases of Smith (Case No. 3:17-cv-11212, ECF 21); Pringle
     (Case No. 3:17-cv-06766, ECF 20); and Demelia (Case No. 3:17-cv-10971, ECF 23),
     dated August 16, 2024. This Court has consistently denied requests to dismiss without
     prejudice in similar situations involving failure to provide discovery, and there is no reason
     to treat these cases any differently.
          Accordingly, Defendants respectfully request Your Honor find these Plaintiffs
     have not demonstrated good cause in response to the Order to Show Cause entered by
     the Court on August 15, 2024 (ECF 33096) and dismiss these cases with prejudice.

           Thank you for your consideration of these matters.
                                                 Respectfully,

                                                 /s/ Susan M. Sharko
                                                 Susan M. Sharko
                                                 FAEGRE DRINKER BIDDLE & REATH LLP

                                                 Attorneys for Defendants Johnson & Johnson
                                                 and LLT Management, LLC
 SMS/scg
 Cc: Counsel of Record (via PACER)




 1
  See Case No. 3:23-cv-19056, Doc. 8; Case No. 3:23-cv-18971, Doc. 9; Case No. 3:23-cv-18494, Doc.
 9; Case No. 3:23-cv-19502, Doc. 9; Case No. 3:23-cv-19005, Doc. 8; Case No. 3:23-cv-19018, Doc. 8;
 and Case No. 3:23-cv-19034, Doc. 8.
